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                   United States District Court

                  Northern District of California

                 Before The Honorable William Alsup

Oracle America,             )
Incorporated,               )
                            )
           Plaintiff,       )
                            )
  vs.                       )              No. C10-3651 WHA
                            )
Google, Incorporated,       )
                            )
           Defendant.       )
____________________________)
                                     San Francisco, California
                                      Thursday, July 21, 2011

               Reporter's Transcript Of Proceedings


Appearances:


For Plaintiff:             Morrison & Foerster, LLP
                           755 Page Mill Road
                           Palo Alto, California 94304
                     By:   Michael A. Jacobs, Esquire


For Plaintiff:             Oracle, Incorporated
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                           Redwood Shores, California 94065
                     By:   Matthew Sarboraria, Esquire


(Appearances continued on next page.)



Reported By:         Sahar Bartlett, RPR, CSR No. 12963
                     Official Reporter, U.S. District Court
                     For the Northern District of California

               (Computerized Transcription By Eclipse)

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1                He overlooks the actual negotiations --                      1   to take a hundred million, but the rejection means nothing,
2                THE COURT: Repeat that last point again about                2   does it? What could it possibly mean?
3    diminimus and -- say that again. Where did that come from?               3                MR. VAN NEST: Well, it doesn't mean nothing, Your
4                MR. VAN NEST: Yeah, that came from Oracle's                  4   Honor, but your point is well taken; it probably means more
5    representations to the federal regulators when they acquired             5   that that's what Sun offered, that's what Sun was willing to
6    Sun. And there was an investigation into whether this was                6   take. In other words, in the hypothetical negotiation --
7    anti-competitive or not, that, hey, we have always licensed              7                THE COURT: And then your side -- tell me why there
8    Java, we have never refused to license Java, and we have                 8   isn't willful infringement here.
9    licensed it at diminimus rates.                                          9                MR. VAN NEST: I will.
10               And now you have Dr. Cockburn coming in here and            10                THE COURT: Because you went to get the license, you
11   claiming that in a hypothetical negotiation, Google would have          11   didn't follow through, and now you got a production out there
12   agreed to pay 15 to 20 percent of all of its ad revenue off             12   that is in direct violation of these patents?
13   every handset sold by every carrier, not only using Android,            13                MR. VAN NEST: None of those.
14   but as I understand his report, every other platform as well.           14                THE COURT: That's a very hard scenario -- I am
15               Now, the actual negotiations, in the actual                 15   going to ask you, but I bet you've never seen that scenario
16   negotiations, Sun proposed a royalty all in for three years of          16   before. I have not.
17   a hundred million dollars, and that was rejected by Google.             17                MR. VAN NEST: And you won't see it here, either,
18   That was offered, according to Dr. Cockburn and according to            18   Your Honor.
19   the evidence --                                                         19                THE COURT: Well, then, why isn't there willful
20               THE COURT: Well, what difference does it make? Why          20   infringement?
21   does it matter if Google rejected it? Google may have been              21                MR. VAN NEST: I'll explain why.
22   playing -- they may have just been trying to get it on the              22                THE COURT: All right. Leave enough time.
23   cheap, that doesn't mean it was reasonable to reject it.                23                MR. VAN NEST: The negotiation that took place was
24               MR. VAN NEST: No, Your Honor, Your Honor --                 24   not a pure licensing negotiation. And that's been confirmed by
25               THE COURT: It may mean that the offerer was willing         25   all the participants, including Mr. Schwartz, the CEO of Sun at

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1    the time.                                                                1                MR. VAN NEST: They were negotiating a technology
2                Google had two essential options in building                 2   partnership, they were negotiating an agreement. They weren't
3    Android: They could have entered into a technology partnership           3   coming to say, we need a license to your technology, they were
4    with another company and contributed resources and engineers             4   coming to say, we have a product and a project we would like to
5    and built Android together, that's what they were discussing,            5   build, we would like to build it together, you guys have
6    in fact, with Sun.                                                       6   technology that might be useful, we have technology that might
7                They discussed that same thing, Your Honor, with             7   be useful, let's partner together and build it.
8    several other companies that already had virtual machines. So            8                And that is what was being proposed in 2005 and 2006
9    they went to several companies, not just Sun, and said, do you           9   in these discussions we've been talking about. That was not
10   want to build this project with us together? We'll provide              10   acceptable, ultimately, either to Google or to Sun, they
11   engineers and technology, you provide engineers and technology,         11   couldn't reach term on that. So Google went out, they built
12   and we'll build the product together and the advantage of that          12   their own. They used a clean-room environment. They didn't
13   was, it might be a little faster.                                       13   look at any of these Sun patents we're talking about.
14               The other option they had was to build it on their          14                And the kicker is, Your Honor, discussions
15   own, build it independently and using their own engineers, own          15   continued, there were further discussions; Sun became more and
16   technology and/or licensing technology from other third                 16   more and more interested in getting on the Android bandwagon.
17   parties, not -- not just Sun, because many other folks were             17                So when Android was announced in 2007, Sun didn't
18   building virtual machines.                                              18   throw up their hands and say, oh, my gosh, you're infringing,
19               What happened was, they couldn't come to terms with         19   Sun congratulated Google on Android, welcomed Android to the
20   Sun -- by the way, in those negotiations, there wasn't any              20   Java community, put Android on Sun products, asked Google how
21   specific discussion of the patents. Nobody showed them Sun              21   they could help Android.
22   patents. Nobody said, are you infringing these patents. They            22                The whole point was that Android was something that
23   didn't see these Sun patents until Oracle showed them to them a         23   Sun saw, then, as beneficial to them, something that would
24   month before --                                                         24   spread the news and the word about Java. They didn't come in
25               THE COURT: Why did they need their license, then?           25   in 2007 --

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